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17
                                 UNITED STATES DISTRICT COURT
18
                               NORTHERN DISTRICT OF CALIFORNIA
19
                                     SAN FRANCISCO DIVISION
20
   In re FACEBOOK BIOMETRIC                           )   Master File No. 3:15-cv-03747-JD
21 INFORMATION PRIVACY LITIGATION                     )
                                                      )   CLASS ACTION
22                                                    )
     This Document Relates To:                        )   NOTICE OF AMENDED STIPULATION OF
23                                                    )   CLASS ACTION SETTLEMENT
            ALL ACTIONS.                              )
24                                                    )
25

26

27

28


     NOTICE OF AMENDED STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD
 1          In connection with the hearing scheduled for July 23, the parties advise the Court that they

 2 have revised their stipulation of settlement (including a revised settlement amount). A true and

 3 correct copy of the revised stipulation of settlement is attached hereto as Exhibit A.

 4

 5   DATED: July 22, 2020                           COOLEY LLP
                                                    Michael G. Rhodes (116127)
 6                                                  Whitty Somvichian (194463)
 7
                                                    /s/ Michael G. Rhodes
 8
                                                                  Michael G. Rhodes
 9                                                  Counsel for Defendant Facebook, Inc.

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11                                                  Telephone: 415/693-2000
                                                    415/693-2222 (fax)
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13   DATED: July 22, 2020                           LABATON SUCHAROW LLP
                                                    Michael P. Canty (pro hac vice)
14                                                  Corban S. Rhodes (pro hac vice)
15
                                                    /s/ Michael P. Canty
16                                                                  Michael P. Canty
                                                    Counsel for Plaintiffs and the Class
17

18                                                  140 Broadway
                                                    New York, NY 10005
19                                                  Telephone: 212/907-0700
                                                    212/818-0477 (fax)
20
     DATED: July 22, 2020
21                                                  ROBBINS GELLER RUDMAN & DOWD LLP
                                                    Paul J. Geller (pro hac vice)
22

23                                                  /s/ Paul J. Geller
                                                                      Paul J. Geller
24                                                  Counsel for Plaintiffs and the Class
25
                                                    120 East Palmetto Park Road, Ste. 500
26                                                  Boca Raton, FL 33432
                                                    Telephone: 561/750-3000
27                                                  561/750-3364 (fax)

28


     NOTICE OF AMENDED STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                     -1-
 1    DATED: July 22, 2020                          EDELSON PC
                                                    Jay Edelson (pro hac vice)
 2                                                  Benjamin Richman (pro hac vice)
                                                    Alexander G. Tievsky (pro hac vice)
 3                                                  Rafey Balabanian
                                                    Lily Hough
 4

 5                                                   /s/ Jay Edelson
 6                                                                     Jay Edelson
                                                    Counsel for Plaintiffs and the Class
 7
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 8                                                  Chicago, IL 60654
                                                    Telephone: 312/589-6370
 9                                                  312/589-6378 (fax)
10
                                                    123 Townsend Street
11                                                  San Francisco, CA 94107
                                                    Telephone: 415/212-9300
12
                                                    415/373-9435 (fax)
13

14

15                                           ATTESTATION

16 Pursuant to Civil Local Rule 5-1(i)(3), all signatories concur in filing this Stipulated Request.

17

18 Dated: July 22, 2020
                                                        /s/ Michael G. Rhodes
19                                                               Michael G. Rhodes
20

21   230466363

22

23

24

25

26

27

28


     NOTICE OF AMENDED STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                       -2-
EXHIBIT A
 1 EDELSON PC                                         COOLEY LLP
   Jay Edelson (pro hac vice)                         Michael G. Rhodes (116127)
 2 Benjamin H. Richman (pro hac vice)                 Whitty Somvichian (194463)
   Alexander G. Tievsky (pro hac vice)                101 California Street, 5th Floor
 3 350 North LaSalle Street, 14th Floor               San Francisco, CA 94111
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 4 Telephone: (312) 589-6370                          Fax: (415) 693-2222
   Fax: (312) 589-6379                                rhodesmg@cooley.com
 5 jedelson@edelson.com
                                                      MAYER BROWN LLP
 6 ROBBINS GELLER RUDMAN & DOWD LLP                   Lauren R. Goldman (pro hac vice)
   Shawn A. Williams (213113)                         Michael Rayfield (pro hac vice)
 7 John H. George (292332)                            1221 Avenue of the Americas
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   Telephone: (415) 288-4545                          lrgoldman@mayerbrown.com
 9 Fax: (415) 288-4534
   shawnw@rgrdlaw.com                                 John Nadolenco (181128)
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15
     Counsel for the parties
16
     [Additional counsel appear on signature page.]
17
                                 UNITED STATES DISTRICT COURT
18
                               NORTHERN DISTRICT OF CALIFORNIA
19
                                     SAN FRANCISCO DIVISION
20
   In re FACEBOOK BIOMETRIC                           )   Master File No. 3:15-cv-03747-JD
21 INFORMATION PRIVACY LITIGATION                     )
                                                      )   CLASS ACTION
22                                                    )
     This Document Relates To:                        )   AMENDED STIPULATION OF
23                                                    )   CLASS ACTION SETTLEMENT
            ALL ACTIONS.                              )
24                                                    )

25

26

27

28
 1          This Amended Stipulation of Class Action Settlement is entered into by and among

 2 Plaintiffs Nimesh Patel, Adam Pezen, and Carlo Licata (together “Plaintiffs”) for themselves

 3 individually and as appointed representatives of the Class certified by the Court, and

 4 Defendant Facebook, Inc. (“Facebook” or “Defendant”).1 This Settlement Agreement is

 5 intended by the Plaintiffs and Facebook, (collectively, the “Parties”) to fully, finally, and

 6 forever resolve, discharge, and settle the Released Claims upon and subject to the terms and

 7 conditions in this Agreement, and is subject to the approval of the Court.

 8 I.       RECITALS
 9          1.     On April 1, 2015, Plaintiff Carlo Licata filed a putative class action complaint

10 against Facebook in the Circuit Court of Cook County, Illinois, alleging violations of the Illinois

11 Biometric Information Privacy Act, 740 ILCS 14/1, et seq. (“BIPA”), related to the alleged

12 unauthorized collection and storage of his biometric data, which Facebook removed to the United

13 States District Court for the Northern District of Illinois. Shortly thereafter, Adam Pezen and

14 Nimesh Patel brought similar claims in the United States District Court for the Northern District

15 of Illinois.

16          2.     On July 1, 2015, Facebook moved to transfer venue to the United State District

17 Court for the Northern District of California. On July 29, 2015, the Pezen and Patel cases, along

18 with the removed Licata case, were transferred to this Court, and consolidated into this Action.
19 On August 28, 2015, the Parties filed a consolidated class action complaint against Facebook.

20          3.     On October 9, 2015, Facebook moved to dismiss the consolidated class action

21 complaint. The Court converted a portion of defendant’s motion to dismiss into a summary

22 judgment motion under Rule 56. Following expedited discovery and an evidentiary hearing, the

23 Court denied Defendants’ motion on May 5, 2016.

24          4.     On June 29, 2016, Facebook filed a motion to dismiss under Rule 12(b)(6) and Rule

25 12(h)(3) for lack of subject matter jurisdiction under the Supreme Court’s decision in Spokeo, Inc.

26

27   1
      Unless otherwise specified, capitalized terms shall have the definitions ascribed to them in
   Section I, infra.
28


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                     -1-
 1 v. Robins, 136 S. Ct. 1540 (2016). On February 7, 2017, the Rules 12(b)(6) and 12(h)(3) motion

 2 was administratively terminated with leave to renew pending the Ninth Circuit’s decision in

 3 Spokeo on remand from the Supreme Court.

 4          5.      Subsequently, the Parties conducted significant fact and expert discovery, including

 5 a second round of depositions of all plaintiffs, the Parties’ respective experts, and Facebook fact

 6 witnesses, bringing the total number of depositions taken and/or defended to eleven. The Parties

 7 filed three motions to compel and/or for protective orders. Additionally, Plaintiffs and their experts

 8 conducted seven weeks of on-site review of Facebook’s source code relevant to the claims and

 9 defenses in the Action.

10          6.      On September 28, 2017, Facebook again renewed its motion to dismiss for lack of

11 subject matter jurisdiction, which the Court denied on February 26, 2018.

12          7.      On December 8, 2017, Plaintiffs moved for class certification. On April 16, 2018,

13 the Court granted Plaintiffs’ motion for class certification, in part, by certifying a class consisting

14 of: “Facebook users located in Illinois for whom Facebook created and stored a face template after

15 June 7, 2011.” The Court ordered that notice to the Class be provided to all persons present in

16 Illinois sixty (60) continuous days by email through a third-party administrator as well as by jewel

17 notification and the Facebook newsfeed by Facebook. On April 30, 2018, Facebook sought

18 permission to appeal the class certification order under Rule 23(f) by the United States Court of
19 Appeals for the Ninth Circuit (“Ninth Circuit”).

20          8.      On December 8, 2017, Facebook moved for summary judgment based on Illinois’

21 Extraterritoriality Doctrine and the Dormant Commerce Clause. On March 16, 2018, Facebook

22 filed another motion for summary judgment raising statutory arguments under BIPA. Plaintiffs

23 also moved for summary judgment that same day. On May 14, 2018, the Court denied the three

24 outstanding summary judgment motions.

25          9.      The Action was scheduled for a jury trial set to begin on July 9, 2018. On May 17,

26 2018, eight Motions in Limine were exchanged by the Parties, pursuant to the Court’s standing

27 order.

28


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                         -2-
 1          10.    On May 24, 2018, the Court issued an order stating that pre-trial class notice must

 2 be published no later than May 31, 2018. On May 29, 2018, the Court denied Facebook’s motion

 3 for a stay. On May 25, 2018, Facebook made an emergency motion in the Ninth Circuit, asking

 4 that court to stay the district court proceedings pending consideration of its 23(f) petition. This

 5 motion was granted and the appeal proceeded in the Ninth Circuit.

 6          11.    Plaintiffs, Defendants, and multiple Amici Curiae briefed the issues for appeal and

 7 the Ninth Circuit held an oral argument on June 12, 2019. On August 8, 2019, the Ninth Circuit

 8 affirmed this Court’s order granting class certification. On September 9, 2019, Facebook petitioned

 9 the Ninth Circuit for rehearing or rehearing en banc, which was denied. On December 2, 2019,

10 Facebook filed a petition for a writ of certiorari with the Supreme Court of the United States. On

11 Facebook’s motion, the Ninth Circuit stayed issuance of its mandate pending the Supreme Court’s

12 resolution of its petition. On January 21, 2020 the Supreme Court denied Facebook’s petition.

13          12.    The Parties attempted to resolve this dispute through mediation three times during

14 these proceedings. First, on May 16, 2017, the Parties exchanged statements and attended a private

15 mediation with Judge Layn Phillips (ret.), but were unable to reach a resolution. On May 4, 2018,

16 the Parties again participated in a Court-ordered mediation before Magistrate Judge Donna M.

17 Ryu, but were unable to reach an agreement. On January 15, 2020, the Parties participated in a

18 third mediation with Ambassador Jeff L. Bleich (ret.) in San Francisco. After considerable arms-
19 length negotiations, the Parties were able to reach an agreement to resolve this Action.

20          13.    The Parties presented the Court with an agreement to resolve this matter and

21 requested preliminary approval. On June 4, 2020, this Court denied preliminary approval without

22 prejudice and provided the Parties with a list of concerns with the originally drafted agreement and

23 exhibits. Thereafter, the Parties, with further and substantial assistance of Ambassador Bleich

24 (ret.), involving extensive additional negotiations and numerous communications under his

25 supervision over the ensuing weeks, continuing to just a few days ago, were able to reach a revised

26 Settlement that addresses the Court’s stated concerns.

27          14.    Plaintiffs and Class Counsel believe that the claims asserted in the Action have

28 merit, that they would have ultimately succeeded at trial and on any subsequent appeal. But


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                      -3-
 1 Plaintiffs and Class Counsel recognize that Facebook has raised relevant factual and legal defenses

 2 that pose risks to the Class, namely: (i) obstacles to an aggregate recovery for Class members; and

 3 (ii) issues of law would be reviewed de novo on appeal even after Plaintiffs prevailed at trial. Class

 4 Counsel have also taken into account the uncertain outcome and risks of any litigation, especially

 5 in complex actions, as well as the difficulty and delay inherent in such litigation and the appeals

 6 that would follow any judgment in favor of the Class. Class Counsel believe that this Agreement

 7 eliminates uncertainty in the outcome and presents an exceptional result for the Class, and one that

 8 will be provided without delay. Therefore, Plaintiffs believe that it is in the best interest of the

 9 Class to settle the Action and that the Released Claims be fully and finally compromised, settled,

10 and resolved with prejudice, and barred pursuant to the terms and conditions set forth in this

11 Settlement Agreement.

12          15.     Facebook denies all allegations of wrongdoing and liability and denies all material

13 allegations in the consolidated complaint and strongly believes that it would prevail in any trial on

14 the merits, but has similarly concluded that this Settlement Agreement is desirable to avoid the

15 time, risk, and expense of defending protracted litigation, and to avoid the risk posed by the Class’s

16 claims for substantial damages. Facebook thus desires to resolve finally and completely resolve

17 the pending claims of Plaintiffs and the Class.

18          16.     NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and

19 among Plaintiffs, the Class, and Defendant that, subject to the approval of the Court after a hearing

20 as provided for in this Settlement, and in consideration of the benefits flowing to the Parties from

21 the Settlement set forth herein, the Released Claims shall be fully and finally compromised, settled,

22 and released, and the Action shall be dismissed with prejudice, upon and subject to the terms and

23 conditions set forth in this Settlement Agreement.

24 II.      AGREEMENT
25                  a.     Definitions
26          1.1     As used herein, in addition to any definitions set forth elsewhere in this Settlement

27 Agreement, the following terms shall have the meanings set forth below:

28


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                        -4-
 1          1.2     “Action” means the consolidated case captioned In re Facebook Biometric

 2 Information Privacy Litigation, No. 3:15-cv-03747-JD (N.D. Cal.).

 3          1.3     “Agreement” or “Settlement Agreement” means this Amended Stipulation of

 4 Class Action Settlement.

 5          1.4     “Approved Claim” means a Claim Form submitted by a Class Member that is

 6 timely and submitted in accordance with the directions on the Claim Form and the terms of this

 7 Agreement, or is otherwise accepted by the Court and satisfies the conditions of eligibility for a

 8 Settlement Payment as set forth in this Agreement.

 9          1.5     “Claim Form” means the document substantially in the form attached hereto as

10 Exhibit A, as approved by the Court. Class Members who wish to file a claim for a Settlement

11 Payment must submit a Claim Form which will be available in paper and electronically, including

12 the ability to click on a link directly within the jewel and newsfeed notices on Facebook.com and

13 be taken to the Settlement Website. The Claim Form will require a claiming Class Member to

14 provide the following information: (i) full name, (ii) current U.S. Mail address, (iii) the email

15 address or telephone number associated with their Facebook account, and (iv) if necessary, to

16 provide additional information about the time in which they were located in Illinois as well as their

17 Facebook use. The electronic Claim Form will provide Class Members with the option of having

18 their Settlement Payment transmitted to them electronically, through Automated Clearing House
19 (“ACH”) direct deposit, or other reliable means.

20          1.6     “Claims Deadline” means the date by which all Claim Forms must be postmarked

21 or submitted electronically to be considered timely, and shall be set as a date no later than sixty

22 (60) calendar days following the Notice Date, subject to Court approval. The Claims Deadline

23 shall be clearly set forth in the order preliminarily approving the Settlement, as well as in the

24 Notice and the Claim Form.

25          1.7     “Class” means the class previously certified by the Court: Facebook users located

26 in Illinois for whom Facebook created and stored a face template after June 7, 2011 up to the date

27 of the Preliminary Approval Order. (Dkt. 333.) Excluded from the class: (1) any Judge, Magistrate,

28 or mediator presiding over this Action and members of their immediate families, (2) the Defendant,


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                       -5-
 1 Defendant’s employees, Defendant’s subsidiaries, parent companies, successors, predecessors,

 2 and any entity in which Facebook or its affiliates have a controlling interest, (3) persons who

 3 properly execute and file a timely request for exclusion from the Class, (4) Class Counsel, and (5)

 4 the legal representatives, successors or assigns of any such excluded persons.

 5          1.8     “Class Counsel” means the law firms of Edelson PC; Robbins Geller Rudman &

 6 Dowd LLP; and Labaton Sucharow LLP.

 7          1.9     “Class Member” means a person who falls within the definition of the Class and

 8 who does not submit a valid request for exclusion.

 9          1.10    “Class Representatives” means Plaintiffs Carlo Licata, Nimesh Patel, and Adam

10 Pezen.

11          1.11    “Court” means the United States District Court for the Northern District of

12 California, San Francisco Division, the Honorable James Donato presiding, or any judge who shall

13 succeed him as the judge assigned to the Action.

14          1.12    “Defendant” or “Facebook” means Defendant Facebook, Inc., a Delaware

15 corporation.

16          1.13    “Defendant’s Counsel” or “Facebook’s Counsel” means the law firms of Cooley

17 LLP and Mayer Brown LLP.

18          1.14    “Escrow Account” means the separate, interest-bearing escrow account to be

19 established by Class Counsel, or by the Settlement Administrator under terms acceptable to Class

20 Counsel, at Citibank, N.A., which shall be the “Escrow Agent.” The Settlement Amount shall be

21 deposited into the Escrow Account and the money shall be invested in the following types of

22 accounts and/or instruments and no other: (a) demand deposit accounts; (b) time deposit accounts

23 and certificates of deposit; (c) United States Treasury bills; or (d) other instruments backed by the

24 full faith and credit of the United States Government. The costs of establishing and maintaining

25 the Escrow Account shall be paid from the Settlement Fund.

26          1.15    “Fee Award” means the amount of attorneys’ fees and expenses awarded to Class

27 Counsel by the Court to be paid out of the Settlement Fund.

28


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                       -6-
 1          1.16    “Final” means one business day after the latest of the following events: (i) the date

 2 upon which the time expires for filing or noticing any appeal of the Court’s Final Judgment

 3 approving the Settlement Agreement; (ii) if there is an appeal or appeals, other than an appeal or

 4 appeals solely with respect to the Fee Award, the date of completion, in a manner that finally

 5 affirms and leaves in place the Final Judgment without any material modification, of all

 6 proceedings arising out of the appeal or appeals (including, but not limited to, the expiration of all

 7 deadlines for motions for reconsideration or petitions for review and/or certiorari, all proceedings

 8 ordered on remand, and all proceedings arising out of any subsequent appeal or appeals following

 9 decisions on remand); or (iii) the date of final dismissal of any appeal or the final dismissal of any

10 proceeding on certiorari.

11          1.17    “Final Approval Hearing” means the hearing before the Court where the Parties

12 will request that the Final Judgment be entered by the Court finally approving the Settlement as

13 fair, reasonable and adequate, and approving the Fee Award and the incentive awards to the Class

14 Representatives.

15          1.18    “Final Judgment” means the final judgment to be entered by the Court approving

16 the settlement of the Action in accordance with this Settlement Agreement after the Final Approval

17 Hearing.

18          1.19    “Net Settlement Fund” means the Settlement Fund, plus any interest or investment

19 income earned on the Settlement Fund, less any Fee Award, incentive awards to the Class

20 Representatives, Taxes and Tax Expenses, and Estimated Settlement Administration Expenses.

21          1.20    “Notice” means the notices of this proposed Settlement and Final Approval

22 Hearing, which are to be disseminated to the Class substantially in the manner set forth in this

23 Settlement Agreement and approved by the Court, fulfilling the requirements of Due Process and

24 Rule 23, and are substantially in the form of Exhibits C, D, E, F, G, and H attached hereto.

25          1.21    “Notice Date” means the date by which the Notice is disseminated to the Class,

26 which shall be a date no later than thirty five (35) calendar days after entry of Preliminary

27 Approval.

28


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                        -7-
 1          1.22    “Objection/Exclusion Deadline” means the date by which a written objection to the

 2 Settlement or a request for exclusion by a person within the Class must be made, which shall be

 3 designated as a date no later than sixty (60) calendar days after the Notice Date and no sooner than

 4 fourteen (14) calendar days after the request for the Fee Award is filed with the Court and posted

 5 to the Settlement Website, or such other date as ordered by the Court.

 6          1.23    “Plaintiffs” means Carlo Licata, Nimesh Patel, and Adam Pezen.

 7          1.24    “Preliminary Approval” means that an order has been issued by the Court

 8 (“Preliminary Approval Order”) making each of the following rulings: (i) preliminarily approving

 9 the Agreement and finding that the Settlement is within the range of potential final approval as

10 fair, reasonable, and adequate; (ii) confirming certification of the Class, for settlement purposes;

11 and (iii) approving the form and manner of the Notice and directing that Notice be sent to the

12 Class.

13          1.25    “Released Claims” means any and all claims or causes of action, whether known or

14 unknown (including “Unknown Claims” as defined below), arising from or related to Plaintiffs’

15 allegations regarding the alleged collection, storage, or dissemination of biometric data related to

16 facial recognition technology from Facebook users located in Illinois, including all claims and

17 issues that were litigated in the action or that could have been brought in the Action and claims for

18 any violation of the Illinois Biometric Information Privacy Act (“BIPA”) or other Illinois statutory
19 or common law related to facial recognition.

20          1.26    “Released Parties” means Facebook, Inc. and Face.com, and their respective

21 present or former administrators, predecessors, successors, assigns, parents, subsidiaries, holding

22 companies, investors, divisions, associates, employees, agents, representatives, consultants,

23 independent contractors, directors, managing directors, officers, partners, principals, members,

24 attorneys, vendors, accountants, fiduciaries, financial and other advisors, investment bankers,

25 insurers, reinsurers, employee benefit plans, underwriters, shareholders lenders, auditors,

26 investment advisors, and former companies but excluding any entities in which Facebook or

27 Face.com had or has a controlling interest or are affiliated with that did not use the Tag Suggestions

28 feature such as Instagram, Inc., WhatsApp Inc., and Oculus VR Inc.


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                        -8-
 1          1.27   “Releasing Parties” means Plaintiffs and the Class Members and their respective

 2 present or past heirs, executors, estates, administrators, trustees, assigns, agents, consultants,

 3 independent contractors, insurers, attorneys, accountants, financial and other advisors, investment

 4 bankers, underwriters, lenders, and any other representatives of any of these persons and entities.

 5          1.28   “Settlement Administration Expenses” means the expenses incurred by the

 6 Settlement Administrator in providing Notice, processing claims, responding to inquiries from

 7 members of the Class, providing Settlement Payments, related services, and the costs of the Escrow

 8 Account. The Settlement Administrator anticipates the total cost of Settlement Administration to

 9 be approximately $1,750,195.00 (“Estimated Settlement Administration Expenses”), which will

10 be set aside from the Settlement Fund.

11          1.29   “Settlement Administrator” means Gilardi & Co. LLC, subject to approval of the

12 Court, which will provide certain aspects of the Notice, Settlement Website, as well as the

13 processing of Approved Claims as Settlement Payments to Class Members as set forth in this

14 Agreement.

15          1.30   “Settlement Fund” means the non-reversionary cash fund that shall be funded by

16 Facebook in the total amount of six hundred fifty million US dollars ($650,000,000.00) (the

17 “Settlement Amount”) to be deposited into the Escrow Account, plus all interest earned thereon.

18 The following shall be paid from the Settlement Fund: All Settlement Payments as a result of
19 Approved Claims made by Class Members, Settlement Administration Expenses, Taxes and Tax

20 Expenses, any incentive awards to the Class Representatives, and any Fee Award to Class Counsel.

21 The Settlement Fund shall be kept in the Escrow Account until such time as the above-listed

22 payments are made. The Settlement Fund includes all interest that shall accrue on the sums

23 deposited in the Escrow Account. Class Counsel and/or the Settlement Administrator shall be

24 responsible for all tax filings with respect to any earnings on the Settlement Fund and causing the

25 payment of all Taxes that may be due on such earnings. The Settlement Fund represents the total

26 extent of Facebook’s monetary obligations under this Agreement. In no event shall Facebook’s

27 total monetary obligation with respect to this Agreement exceed or be less than six hundred fifty

28 million dollars ($650,000,000.00). The Parties, the Escrow Agent, and the Settlement


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                      -9-
 1 Administrator agree to treat the Settlement Fund as being at all times a “qualified settlement fund”

 2 within the meaning of Treas. Reg. §1.468B-1. In addition, the Settlement Administrator shall

 3 timely make such elections as necessary or advisable to carry out this provision, including the

 4 “relation-back election” (as defined in Treas. Reg. §1.468B-1) back to the earliest permitted date.

 5 Such elections shall be made in compliance with the procedures and requirements contained in

 6 such regulations. It shall be the responsibility of Class Counsel and/or the Settlement

 7 Administrator to timely and properly prepare and deliver the necessary documentation for

 8 signature by all necessary parties, and thereafter to cause the appropriate filing to occur.

 9          1.31    “Settlement Payment” means the payments to be made in response to Approved

10 Claims. Each individual who submits an Approved Claim will receive a pro rata portion of the

11 Net Settlement Fund.

12          1.32    “Settlement Website” means the website to be created, launched, and maintained

13 by the Settlement Administrator, which will provide access to relevant case documents including

14 the Notice, Claim Form, and other relevant documents.

15          1.33    “Taxes” means all federal, state, or local taxes of any kind on any income earned

16 by the Settlement Fund and the expenses and costs incurred in connection with the taxation of the

17 Settlement Fund (including, without limitation, interest, penalties and the reasonable expenses of

18 tax attorneys and accountants). All (i) Taxes (including any estimated Taxes, interest or penalties)
19 arising with respect to the income earned by the Settlement Fund, including any Taxes or tax

20 detriments that may be imposed upon the Released Parties or their counsel with respect to any

21 income earned by the Settlement Fund for any period during which the Settlement Fund does not

22 qualify as a “qualified settlement fund” for federal or state income tax purposes, and (ii) expenses

23 and costs incurred in connection with the operation and implementation of this Agreement

24 (including, without limitation, expenses of tax attorneys and/or accountants and mailing and

25 distribution costs and expenses relating to filing (or failing to file) the returns described in this

26 Agreement (“Tax Expenses”), shall be paid out of the Settlement Fund; in all events the Released

27 Parties and their counsel shall have no liability or responsibility for the Taxes or the Tax Expenses.

28 Further, Taxes and Tax Expenses shall be treated as, and considered to be, a cost of administration


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                       - 10 -
 1 of the Settlement Fund and shall be timely paid by the Escrow Agent, as instructed by Class

 2 Counsel and/or the Settlement Administrator, out of the Settlement Fund without prior order from

 3 the Court and the Settlement Administrator shall be authorized (notwithstanding anything herein

 4 to the contrary) to withhold from distribution to Class Members with Approved Claims any funds

 5 necessary to pay such amounts, including the establishment of adequate reserves for any Taxes

 6 and Tax Expenses (as well as any amounts that may be required to be withheld under Treas. Reg.

 7 §1.468B-2(l)(2)); neither the Released Parties nor their counsel are responsible nor shall they have

 8 any liability for any Taxes or Tax Expenses. The Parties hereto agree to cooperate with the

 9 Settlement Administrator, the Escrow Agent, each other, and their tax attorneys and accountants

10 to the extent reasonably necessary to carry out the provisions of this Agreement. For the purpose

11 of §1.468B of the Internal Revenue Code of 1986, as amended, and the regulations promulgated

12 thereunder, Class Counsel shall be the “administrator.” Class Counsel and/or the Settlement

13 Administrator shall timely and properly file all informational and other tax returns necessary or

14 advisable with respect to the Settlement Fund and Escrow Account (including, without limitation,

15 the returns described in Treas. Reg. §1.468B-2(k)). Such returns (as well as the election described

16 in this Agreement) shall be consistent with this section and in all events shall reflect that all Taxes

17 (including any estimated Taxes, interest or penalties) on the income earned by the Settlement Fund

18 shall be paid out of the Settlement Fund as provided in this Agreement.
19          1.34    “Unknown Claims” means claims that could have been raised in the Action and

20 that any or all of the Releasing Parties do not know or suspect to exist, which, if known by him or

21 her, might affect his or her agreement to release the Released Parties or the Released Claims or

22 might affect his or her decision to agree, object or not to object to the Settlement, or seek exclusion

23 from the Class. Upon the Effective Date, the Releasing Parties shall be deemed to have, and shall

24 have, expressly waived and relinquished, to the fullest extent permitted by law, the provisions,

25 rights and benefits of § 1542 of the California Civil Code, which provides as follows:

26          A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
            CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
27          EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
            RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
28


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                        - 11 -
 1          MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
            DEBTOR OR RELEASED PARTY.
 2
     Upon the Effective Date, the Releasing Parties also shall be deemed to have, and shall have, waived
 3
     any and all provisions, rights and benefits conferred by any law of any state or territory of the
 4
     United States, or principle of common law, or the law of any jurisdiction outside of the United
 5
     States, which is similar, comparable or equivalent to § 1542 of the California Civil Code. The
 6
     Releasing Parties acknowledge that they may discover facts in addition to or different from those
 7
     that they now know or believe to be true with respect to the subject matter of this release, but that
 8
     it is their intention to finally and forever settle and release the Released Claims, notwithstanding
 9
     any Unknown Claims they may have, as that term is defined in this Paragraph.
10
                    b.      Settlement Relief
11
            2.1     Facebook shall pay or cause to be paid into the Escrow Account the Settlement
12
     Amount ($650,000,000.00) within fourteen (14) calendar days after the issuance of an order from
13
     the Court finally approving the Settlement.
14
            2.2     Class Members shall have until the Claims Deadline to submit a Claim Form. Each
15
     Class Member with an Approved Claim shall be entitled to a Settlement Payment.
16
            2.3     Within sixty (60) calendar days after the Effective Date, or such other date as the
17
     Court may set, the Settlement Administrator shall send Settlement Payments from the Settlement
18
     Fund by check or electronic deposit, as elected by the Class Member with an Approved Claim.
19
            2.4     Each payment issued to a Class Member via check will state on the face of the
20
     check that it will become null and void unless cashed within ninety (90) calendar days after the
21
     date of issuance.
22
            2.5     In the event that an electronic deposit to a Class Member is unable to be processed,
23
     the Settlement Administrator shall attempt to contact the Class Member within thirty (30) calendar
24
     days to correct the problem.
25
            2.6     To the extent that a check issued to a Class Member is not cashed within ninety
26
     (90) calendar days after the date of issuance or an electronic deposit is unable to be processed
27
     within ninety (90) calendar days of the first attempt, such funds shall remain in the Settlement
28


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                        - 12 -
 1 Fund and shall be apportioned pro rata to participating Class Members in a second distribution, if

 2 practicable. To the extent that any second distribution is impracticable or second-distribution funds

 3 remain in the Settlement Fund after an additional ninety (90) calendar days, such funds shall revert

 4 to the American Civil Liberties Union of Illinois, as approved by the Court.

 5          2.7    No amount paid by Defendant into the Escrow Account shall revert to Defendant

 6 unless the Settlement is terminated in accordance with sections 7.1 or 4.6. In no event shall any

 7 such amount be paid to any Class Counsel except for the amount of an approved Fee Award.

 8          2.8    Within twenty one (21) calendar days after the distributions referenced in this

 9 Section 2.1, the parties will file with the Court a Post-Distribution Accounting as contemplated in

10 the Northern District of California Procedural Guidance for Class Action Settlements

11 (https://www.cand.uscourts.gov/for=s/procedural-guidance-for-class-action-settlements/).

12          2.9    Prospective Relief: Without admitting any liability or that it is required by law to

13 do so, Facebook shall take the following steps in connection with this Settlement:

14                 (a)     Except as provided below, Facebook will (i) set the Face Recognition

15 setting for Class Members to “off” within ninety (90) calendar days of the Effective Date, and (ii)

16 will delete existing face templates for Class Members unless Facebook obtains a Class Member’s

17 express consent to set their Face Recognition setting to “on” within one hundred eighty (180)

18 calendar days of the Effective Date. In obtaining express consent, Facebook will disclose how it
19 will use the face templates that may be created for a Class Member, in a disclosure that is separate

20 and apart from any existing “privacy policy,” “data policy,” “statement of rights and

21 responsibilities” page, or other similar general document and substantially in the form attached as

22 Exhibit B. The disclosure specific to Face Recognition referenced in the foregoing sentence will

23 allow Class Members to dismiss the disclosure without taking an affirmative action, but if a Class

24 Member dismisses the disclosure without taking other action, their Face Recognition setting will

25 remain “off” and their face template will be deleted as set forth above. If, following the Final

26 Approval Hearing, there is an appeal solely with respect to the Fee Award and no other issues,

27 Facebook will implement the steps referenced in this Section 2.9(a) within ninety (90) calendar

28 days of Final Approval.


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                      - 13 -
 1                 (b)     The foregoing requirements will not apply to Class Members (1) who

 2 signed up for Facebook after September 3, 2019 or (2) who manually enabled Face Recognition

 3 for themselves, after Facebook had disabled it for those Class Members.

 4                 (c)     In addition, within ninety (90) calendar days of the Effective Date,

 5 Facebook will delete the face templates of any Class Members who have had no activity on

 6 Facebook for a period of three years as of the Effective Date, without going through the process

 7 set forth in Section 2.9(a)(ii) above.

 8                 c.      Release
 9          3.1    The obligations incurred pursuant to this Settlement Agreement shall be a full and

10 final disposition of the Action and any and all Released Claims, as against all Released Parties.

11          3.2    Upon the Effective Date, the Releasing Parties, and each of them, shall be deemed

12 to have, and by operation of the Final Judgment shall have, fully, finally, and forever released,

13 relinquished, and discharged all Released Claims against the Released Parties, and each of them.

14          3.3    Upon the Effective Date, the Released Parties shall by operation of the Final

15 Judgment have, fully, finally, and forever released, relinquished, and discharged all claims against

16 Plaintiffs, the Class, and Class Counsel that arise out of or relate in any way to the commencement,

17 prosecution, settlement or resolution of the Action, except for claims to enforce the terms of the

18 Settlement.
19                 d.      Notice To The Class
20          4.1    Class Notice List. Within fourteen (14) calendar days of the Preliminary Approval

21 Order, Facebook will provide to the Settlement Administrator a list of the names and e-mail

22 addresses, or telephone numbers for all Facebook users who, based on Facebook’s data, (1) had a

23 predicted home location in Illinois for one hundred eighty-three (183) or more consecutive days

24 between June 7, 2011 to the date of the Preliminary Approval Order, (2) identified themselves as

25 being the age of eighteen or over in the period when their predicted home location was in Illinois,

26 and (3) had six (6) or more days in which they were active on Facebook during the period when

27 their predicted home location was in Illinois (the “Class Notice List”). Facebook will provide

28 information, based on its available data, on whether Facebook has a record that a face template


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                     - 14 -
 1 existed for that person. The Settlement Administrator shall keep the Class Notice List and all

 2 personal information obtained therefrom, including the identity, mailing, and e-mail addresses of

 3 all persons strictly confidential. The Class Notice List may not be used by the Settlement

 4 Administrator for any purpose other than advising specific individual Class Members of their

 5 rights, mailing Settlement Payments, and otherwise effectuating the terms of the Settlement

 6 Agreement or the duties arising thereunder, including the provision of Notice of the Settlement

 7          4.2     The Notice shall be disseminated in the same manner as was approved by the Court

 8 after class certification:

 9                  (a)     Email Notice by Settlement Administrator. No later than the Notice Date,

10 the Settlement Administrator shall send Notice via email substantially in the form attached as

11 Exhibit C, with a link to a Spanish language version to all Class Members to each email address

12 on the Class Notice List.

13                  (b)     Jewel and News Feed Notice by Facebook. No later than the Notice Date,

14 Facebook shall, at its own cost, make Notice available via jewel notification and placement on the

15 News Feed of each person on the Class Notice List, substantially in the form attached as Exhibits

16 D and E.

17                  (c)     Reminder Notice. No later than date fourteen days before the Claims

18 Deadline the Settlement Administrator shall send reminder notice via email to all Class Members
19 to each email address on the Class Notice List substantially in the form attached as Exhibit C, with

20 a link to a Spanish language version.

21                  (d)     Publication Notice. No later than the Notice Date, the Settlement

22 Administrator shall arrange for the placement of ads in the following manner: 1x Chicago Tribune

23 (1/8th page; Classified) and 1x Chicago Sun-Times (1/4th tabloid page; Main News) in the forms

24 attached as Exhibit F.

25                  (e)     Settlement Website. Expeditiously after preliminary approval of the

26 Settlement and the notice program, the Notice shall be provided on a website, which shall be

27 administered and maintained by the Settlement Administrator and shall include the ability to file

28 Claim Forms on-line. The Notice provided on the Settlement Website will be in English and


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                     - 15 -
 1 Spanish and shall be substantially in the form attached as Exhibit G. The Settlement Website will

 2 be periodically updated to provide the estimated pro rata payment amount based on the number of

 3 participating Class Members. The content of the Settlement Website and any materials posted on

 4 the Settlement Website shall be subject to approval of Class Counsel and Defendant’s Counsel.

 5                  (f)     Targeted Internet Ad Campaign. The Settlement Administrator shall

 6 arrange for an Internet banner ad campaign generating approximately 27.1 million impressions

 7 targeting Illinois Facebook users and Illinois adults 25-54 years of age via the Google Display

 8 Network. The banner ads shall be substantially in the form attached as Exhibit H.

 9                  (g)     CAFA Notice. Defendant will coordinate updated compliance with 28

10 U.S.C. § 1715 at its own cost.

11          4.3     The Notice shall advise the Class of their rights, including the right to be excluded

12 from the Class, comment upon, and/or object to the Settlement Agreement, any of its terms, or the

13 request for the Fee Award. The Notice shall specify that any objection to the Settlement Agreement

14 and/or the request for the Fee Award, and any papers submitted in support of said objection, shall

15 be considered by the Court at the Final Approval Hearing only if, on or before the

16 Objection/Exclusion Deadline approved by the Court and specified in the Notice, the Class

17 Member making the objection files copies of such papers he or she proposes to be submitted at the

18 Final Approval Hearing with the Clerk of the Court, or alternatively, if the objection is from a
19 Class Member represented by counsel, files any objection through the Court’s CM/ECF system.

20          4.4     Any Class Member who intends to object to this Agreement and/or the request for

21 a Fee Award, must present the objection in writing only to the Court, which must be personally

22 signed by the objector, and must include: (1) the objector’s name, address, and email; (2) an

23 explanation of the basis upon which the objector claims to be a Class Member; (3) whether the

24 objection applies only to the objector, a subset of the Class, or the entire Class; (4) all grounds for

25 the objection, including all citations to legal authority and evidence supporting the objection; (5)

26 the name and contact information of any and all attorneys representing, advising, or in any way

27 assisting the objector in connection with the preparation or submission of the objection or who

28 may profit from the pursuit of the objection, who must enter an appearance with the Court in


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                        - 16 -
 1 accordance with the Local Rules; and (6) a statement indicating whether the objector intends to

 2 appear at the Final Approval Hearing (either personally or through counsel).

 3          4.5     A Class Member may request to be excluded from the Class by sending a written

 4 request that is received on or before the Objection/Exclusion Deadline approved by the Court and

 5 specified in the Notice. To exercise the right to be excluded, a Class Member must timely send a

 6 written request for exclusion to the Settlement Administrator providing his/her name, address and

 7 email; a signature, the name and number of the Action, and a statement that he or she wishes to be

 8 excluded from the Class for purposes of this Settlement. In light of the COVID-19 pandemic, the

 9 Settlement Administrator shall create a dedicated e-mail address to receive exclusion requests

10 electronically. A request to be excluded that does not include all of this information, or that is sent

11 to an address other than that designated in the Notice, or that is not postmarked within the time

12 specified, shall be invalid, and the person(s) serving such a request remain a member(s) of the

13 Class and shall be bound as a Class Member by this Agreement, if approved. Any member of the

14 Class who validly elects to be excluded from this Agreement shall not: (i) be bound by any orders

15 or the Final Judgment; (ii) be entitled to relief under this Settlement Agreement; (iii) gain any

16 rights by virtue of this Agreement; or (iv) be entitled to object to any aspect of this Agreement.

17 The request for exclusion must be personally signed by the person requesting exclusion. So-called

18 “mass” or “class” opt-outs shall not be allowed. To be valid, a request for exclusion must be
19 postmarked or received by the date specified in the Notice.

20          4.6     If the number of Class Members who request exclusion exceeds twenty five

21 thousand (25,000), then Facebook may, in its sole discretion, notify Class Counsel in writing that

22 it has elected to terminate this Settlement Agreement. Such notification of intent to terminate the

23 Settlement Agreement must be provided a minimum of seven (7) calendar days before the filing

24 deadline for the motion seeking Final Approval. If this Settlement Agreement is terminated, it will

25 be deemed null and void ab initio.

26          4.7     The Final Approval Hearing shall be no earlier than ninety (90) calendar days after

27 the Notice described in Paragraph 4.2(d) is provided.

28


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                        - 17 -
 1                 e.      Settlement Administration
 2          5.1    The Settlement Administrator shall, under the supervision of the Court, administer

 3 the relief provided by this Settlement Agreement by providing Notice and processing Claim Forms

 4 in a reasonable, cost effective, and timely manner. The Settlement Administrator shall maintain

 5 reasonably detailed records of its activities under this Agreement. The Settlement Administrator

 6 shall maintain all such records as are required by applicable law in accordance with its normal

 7 business practices and such records will be made available to Class Counsel upon request. The

 8 Settlement Administrator shall also provide reports and other information to the Court as the Court

 9 may require. Without limiting the foregoing, the Settlement Administrator shall:

10                 (a)     Receive requests to be excluded from the Class and promptly provide Class

11 Counsel and Defendant’s Counsel copies thereof. If the Settlement Administrator receives any

12 exclusion forms after the deadline for the submission of such forms, the Settlement Administrator

13 shall promptly provide copies thereof to Class Counsel and Defendant’s Counsel;

14                 (b)     Provide weekly reports to Class Counsel regarding the number of Claim

15 Forms received and the categorization and description of Claim Forms rejected, in whole or in

16 part, by the Settlement Administrator;

17                 (c)     Make available for inspection by Class Counsel the Claim Forms received

18 by the Settlement Administrator at any time upon reasonable notice; and
19          5.2    The Settlement Administrator shall be obliged to employ reasonable procedures to

20 screen claims for abuse or fraud and deny Claim Forms where there is evidence of abuse or fraud,

21 including by cross-referencing Approved Claims with the Class List. The Settlement

22 Administrator shall determine whether a Claim Form submitted by a Class Member is an Approved

23 Claim and shall reject Claim Forms that fail to (a) comply with the instructions on the Claim Form

24 or the terms of this Agreement, or (b) provide full and complete information as requested on the

25 Claim Form. In the event a person submits a timely Claim Form by the Claims Deadline but the

26 Claim Form is not otherwise complete, then the Settlement Administrator shall give such person

27 reasonable opportunity to provide any requested missing information, which information must be

28 received by the Settlement Administrator no later than twenty-eight (28) calendar days after the


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                    - 18 -
 1 Claims Deadline. In the event the Settlement Administrator receives such information more than

 2 twenty-eight (28) calendar days after the Claims Deadline, then any such claim shall be denied.

 3 The Settlement Administrator may contact any person who has submitted a Claim Form to obtain

 4 additional information necessary to verify the Claim Form. Class Counsel and Defendant’s

 5 Counsel shall both have the right to challenge the acceptance or rejection of a Claim Form

 6 submitted by a Class Member by the Settlement Administrator. The Settlement Administrator shall

 7 follow any joint decisions of Class Counsel and Defendant’s Counsel as to the validity of any

 8 disputed submitted Claim Form. Where Class Counsel and Defendant’s Counsel disagree as to the

 9 validity of a submitted Claim Form, the Settlement Administrator will resolve the dispute and the

10 Claim Form will be treated in the manner designated by the Settlement Administrator.

11                 f.      Preliminary Approval And Final Approval
12          6.1    Promptly after the execution of this Settlement Agreement, Class Counsel shall

13 submit this Agreement together with its Exhibits to the Court and shall move the Court for entry

14 of Preliminary Approval of the settlement set forth in this Agreement, which order shall set a Final

15 Approval Hearing date and approve the Notice and Claim Form for dissemination substantially in

16 the form of Exhibits A, C, D, E, F, G, and H hereto. The order granting Preliminary Approval shall

17 also authorize the Parties, without further approval from the Court, to agree to and adopt such

18 amendments, modifications and expansions of the Settlement Agreement and its implementing
19 documents (including all exhibits to this Agreement) so long as they are consistent in all material

20 respects with the terms of the Final Judgment set forth below and do not limit or impair the rights

21 of the Class.

22          6.2    After Notice is given, the Parties shall request and seek to obtain from the Court a

23 Final Judgment, which will (among other things):

24                 (a)     find that the Court has personal jurisdiction over all Class Members and that

25 the Court has subject matter jurisdiction to approve the Agreement, including all exhibits thereto;

26                 (b)     approve the Settlement Agreement and the proposed settlement as fair,

27 reasonable and adequate as to, and in the best interests of, the Class Members; direct the Parties

28 and their counsel to implement and consummate the Agreement according to its terms and


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                      - 19 -
 1 provisions; and declare the Agreement to be binding on, and have res judicata and preclusive effect

 2 in all pending and future lawsuits or other proceedings maintained by or on behalf of Plaintiffs and

 3 the Releasing Parties with respect to the Released Claims;

 4                 (c)     find that the Notice implemented pursuant to the Agreement (i) constitutes

 5 the best practicable notice under the circumstances; (ii) constitutes notice that is reasonably

 6 calculated, under the circumstances, to apprise Class Members of the pendency of the Action, their

 7 right to object to the Settlement or exclude themselves from the Class, and to appear at the Final

 8 Approval Hearing; (iii) is reasonable and constitutes due, adequate, and sufficient notice to all

 9 persons entitled to receive notice; and (iv) meets all applicable requirements of the Federal Rules

10 of Civil Procedure, the Due Process Clause of the United States Constitution, and the rules of the

11 Court;

12                 (d)     find that the Class Representatives and Class Counsel adequately represent

13 the Class for purposes of entering into and implementing the Agreement;

14                 (e)     dismiss the Action (including all individual claims and Class claims

15 presented thereby) on the merits and with prejudice, without fees or costs to any party except as

16 provided in the Settlement Agreement;

17                 (f)     incorporate the Releases set forth above, make the Releases effective as of

18 the Effective Date, and forever discharge the Released Parties from the Released Claims as set
19 forth herein;

20                 (g)     permanently bar and enjoin all Class Members who have not properly

21 sought exclusion from the Class from filing, commencing, prosecuting, intervening in, or

22 participating (as class members or otherwise) in, any lawsuit or other action in any jurisdiction

23 based on the Released Claims;

24                 (h)     without affecting the finality of the Final Judgment for purposes of appeal,

25 retain jurisdiction as to all matters relating to administration, consummation, enforcement, and

26 interpretation of the Settlement Agreement and the Final Judgment, and for any other necessary

27 purpose; and

28                 (i)     incorporate any other provisions, as the Court deems necessary and just


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                     - 20 -
 1          6.3     The Parties shall, in good faith, cooperate, assist and undertake all reasonable

 2 actions and steps in order to accomplish these required events on the schedule set by the Court,

 3 subject to the terms of this Settlement Agreement.

 4                  g.      Termination Of The Settlement Agreement
 5          7.1     Subject to Paragraphs 9.1-9.3 below, Defendant or the Class Representatives on

 6 behalf of the Class, shall have the right to terminate this Agreement by providing written notice of

 7 the election to do so (“Termination Notice”) to all other Parties hereto within twenty-one (21)

 8 calendar days of any of the following events: (i) the Court’s refusal to grant Preliminary Approval

 9 of this Agreement in any material respect or a ruling conditionally approving this Agreement

10 subject to proposed changes to, or additions of, material terms (including, but not limited to,

11 changes or additions to the Prospective Relief set forth in Section 2.9, the notice provisions of

12 Section 4.2, and the definition of “Released Claims”); (ii) the Court’s refusal to grant final approval

13 of this Agreement in any material respect; (iii) the Court’s refusal to enter the Final Judgment in

14 this Action in any material respect; (iv) the date upon which the Final Judgment is modified or

15 reversed in any material respect by the Court of Appeals or the Supreme Court; (v) the date upon

16 which an Alternative Judgment, as defined in Paragraph 9.1(d) of this Agreement is modified or

17 reversed in any material respect by the Court of Appeals or the Supreme Court; or (vi) the date

18 Facebook terminates the Settlement Agreement pursuant to Paragraph 4.6 above.
19                  h.      Incentive Awards And Class Counsel’s Attorneys’ Fees And
                            Payment Of Expenses
20
            8.1     Defendant agrees to pay Class Counsel reasonable attorneys’ fees and expenses
21
     incurred in the Action as the Fee Award. The amount of the Fee Award shall be determined by the
22
     Court based on petition from Class Counsel. Without the Parties having discussed the issue of
23
     attorneys’ fees at any point in their negotiations, and with no consideration given or received, Class
24
     Counsel has agreed to limit its petition for attorneys’ fees to no more than twenty percent (20%)
25
     of the settlement fund in the Parties’ May 4, 2020 settlement, plus reimbursement of expenses.
26
     Payment of the Fee Award shall be made from the Settlement Fund and should Class Counsel seek
27
     or be awarded less than this amount, the difference in the amount sought and/or the amount
28


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                         - 21 -
 1 ultimately awarded pursuant to this Paragraph shall remain in the Settlement Fund for distribution

 2 to eligible Class Members. Defendant is not responsible for Class Counsel’s allocation of the Fee

 3 Award amongst themselves. Class Counsel agree that the Fee Award shall be equally divided

 4 among the three (3) firms comprising Class Counsel. Labaton Sucharow’s allocation from the Fee

 5 Award will also be used by Labaton Sucharow to compensate its former liaison counsel, Law

 6 Offices of Norman Rifkind.

 7          8.2     Any Fee Award by the Court shall be paid from the Settlement Fund to Class

 8 Counsel within fourteen (14) days after entry of the Final Judgment and an order awarding such

 9 attorneys’ fees and expenses, notwithstanding the existence of any timely filed objections thereto

10 or to the Settlement, or potential for appeal therefrom, or collateral attack on the awarded fees and

11 expenses, the Settlement, or any part thereof. Payment of the Fee Award shall be made via wire

12 transfer to an account or accounts designated by Class Counsel after providing necessary

13 information for electronic transfer. The Fee Award paid to Class Counsel will be subject to

14 potential repayment pursuant to the terms set forth below.

15          8.3     Each Class Counsel’s law firm receiving any portion of a Fee Award, as a condition

16 of receiving such payment, agrees on behalf of itself and each equity partner and/or shareholder of

17 it that the law firm and its equity partners and/or shareholders are subject to the jurisdiction of the

18 Court for the purpose of enforcing the provisions of this paragraph. Class Counsel executing this
19 Settlement stipulate, warrant, and represent that they have actual authority to enter into the

20 obligations set forth in this paragraph on behalf of the law firms indicated below, and the

21 shareholders, members, and/or partners of those law firms respectively. In the event that the

22 Effective Date does not occur, or the Final Judgment or the order granting a Fee Award is reversed

23 or modified by a final non-appealable order, or this Agreement is canceled or terminated for any

24 other reason, and such reversal, modification, cancellation or termination becomes final and not

25 subject to review, and in the event that the Fee Award has been paid to any extent, then: (a) Class

26 Counsel with respect to the Fee Award paid shall within thirty (30) business days from receiving

27 notice from Defendant’s Counsel or from a court of appropriate jurisdiction, refund to the

28 Settlement Fund such fees and expenses previously paid to them from the Settlement Fund plus


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                        - 22 -
 1 interest thereon at the same rate as earned on the Settlement Fund in an amount consistent with

 2 such reversal or modification. If the Fee Award is reduced on appeal, but all other terms of the

 3 Agreement remain in full effect, Class Counsel shall repay the portion of the Fee Award by which

 4 it is reduced and any interest earned thereon at the same rate as earned on the Settlement Fund.

 5 This partial repayment of the Fee Award shall be applied to the Net Settlement Fund and

 6 distributed in accordance with the terms of the Agreement. If Class Counsel fails to repay any

 7 portion of the Fees Award as required by this paragraph, the Court shall, upon application by

 8 Defendant and notice to Class Counsel, issue such orders as appropriate to compel compliance by

 9 Class Counsel and their respective law firms, and shall award reasonable attorneys’ fees and

10 expenses incurred by Defendant in connection with the enforcement of this paragraph. Neither the

11 death, incapacitation, personal bankruptcy, or disbarment of any of Class Counsel nor the

12 dissolution, winding up, bankruptcy, merger, acquisition, or other change in the composition or

13 solvency of their law firms shall in any way affect the obligations of Class Counsel in this

14 paragraph. All obligations set forth in this paragraph shall expire upon the Effective Date.

15          8.4     Counsel intend to file a motion for Court approval of awards to the Class

16 Representatives, to be paid from the Settlement Fund. With no consideration having been given or

17 received, Class Representatives agree to seek no more than seven thousand five hundred dollars

18 ($7,500) each from the Court as the award. Should the Court award less than this amount, the
19 difference in the amount sought and the amount ultimately awarded pursuant to this Paragraph

20 shall remain in the Settlement Fund.

21                  i.      Conditions Of Settlement, Effect Of Disapproval, Cancellation
                            Or Termination
22
            9.1     The effective date of this Settlement Agreement (the “Effective Date”) shall not
23
     occur unless and until each of the following events occurs and shall be the date upon which the
24
     last (in time) of the following events occurs:
25
                    (a)     The Parties and their counsel have executed this Agreement;
26
                    (b)     The Court has granted Preliminary Approval;
27

28


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                    - 23 -
 1                  (c)     The Court has entered an order finally approving the Agreement, following

 2 Notice to the Class and a Final Approval Hearing, as provided in the Federal Rules of Civil

 3 Procedure, and has entered the Final Judgment, or a judgment consistent with this Agreement in

 4 all material respects;

 5                  (d)     Facebook has funded the Settlement Fund; and

 6                  (e)     The Final Judgment has become Final, as defined by this Agreement, or, in

 7 the event that the Court enters an order and final judgment in a form other than that provided above

 8 (“Alternative Judgment”), and that has the approval of the Parties, such Alternative Judgment

 9 becomes final and unappealable.

10          9.2     If some or all of the conditions specified in Paragraph 9.1 are not met, or in the

11 event that this Agreement is not approved by the Court, or the settlement set forth in this

12 Agreement is terminated or fails to become effective in accordance with its terms, then this

13 Settlement Agreement shall be canceled and terminated subject to Paragraph 7.1 unless Class

14 Counsel and Defendant’s Counsel mutually agree in writing to proceed with this Agreement. If

15 any Party is in material breach of the terms hereof, any other Party, provided that it is in substantial

16 compliance with the terms of this Agreement, may terminate this Agreement on notice to all of the

17 Parties. Notwithstanding anything herein, the Parties agree that the Court’s failure to approve, in

18 whole or in part, the attorneys’ fees payment to Class Counsel and/or the awards to Plaintiffs set
19 forth in Paragraph 8 above shall not prevent the Agreement from becoming effective, nor shall it

20 be grounds for termination.

21          9.3     If this Settlement Agreement is terminated or fails to become effective for the

22 reasons set forth above, the Parties shall be restored to their respective positions as of the date of

23 the signing of this Agreement. In such event, any Final Judgment or other order entered by the

24 Court in accordance with the terms of this Agreement shall be treated as vacated, nunc pro tunc,

25 and the Parties shall be returned to the status quo ante as if this Settlement Agreement had never

26 been entered into.

27          9.4     In the event the Settlement is terminated or fails to become effective for any reason,

28 the Settlement Fund, together with any earnings thereon at the same rate as earned by the


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                         - 24 -
 1 Settlement Fund, less any Taxes paid or due, less Settlement Administrative Expenses actually

 2 incurred and paid or payable from the Settlement Fund, shall be returned to Facebook within thirty

 3 (30) calendar days after written notification of such event in accordance with instructions provided

 4 by Defendant’s Counsel to Class Counsel. At the request of Defendant’s Counsel, Class Counsel

 5 or their designees shall apply for any tax refund owed on the amounts in the Settlement Fund and

 6 pay the proceeds, after any deduction of any fees or expenses incurred in connection with such

 7 application(s), of such refund to Facebook or as otherwise directed.

 8                  j.     Miscellaneous Provisions
 9          10.1    The Parties (a) acknowledge that it is their intent to consummate this Settlement

10 Agreement; and (b) agree, subject to their fiduciary and other legal obligations, to cooperate to the

11 extent reasonably necessary to effectuate and implement all terms and conditions of this

12 Agreement, to exercise their reasonable best efforts to accomplish the foregoing terms and

13 conditions of this Agreement, to secure final approval, and to defend the Final Judgment through

14 any and all appeals. Class Counsel and Defendant’s Counsel agree to cooperate with one another

15 in seeking Preliminary Approval, and entry of the Final Judgment, and promptly to agree upon and

16 execute all such other documentation as may be reasonably required to obtain final approval of the

17 Agreement.

18          10.2    The Parties intend this Settlement Agreement to be a final and complete resolution

19 of all disputes between them with respect to the Released Claims by Plaintiffs, the Class and each

20 or any of them, on the one hand, against the Released Parties, and each or any of the Released

21 Parties, on the other hand. Accordingly, the Parties agree not to assert in any forum that the Action

22 was brought by Plaintiffs or defended by Defendant, or each or any of them, in bad faith or without

23 a reasonable basis.

24          10.3    Each signatory to this Agreement and warrants (a) that he, she, or it has all requisite

25 power and authority to execute, deliver and perform this Settlement Agreement and to consummate

26 the transactions contemplated herein, (b) that the execution, delivery and performance of this

27 Settlement Agreement and the consummation by it of the actions contemplated herein have been

28 duly authorized by all necessary corporate action on the part of each signatory, and (c) that this


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                         - 25 -
 1 Settlement Agreement has been duly and validly executed and delivered by each signatory and

 2 constitutes its legal, valid and binding obligation.

 3          10.4   The Parties have relied upon the advice and representation of counsel, selected by

 4 them, concerning the claims hereby released. The Parties have read and understand fully this

 5 Settlement Agreement and have been fully advised as to the legal effect hereof by counsel of their

 6 own selection and intend to be legally bound by the same.

 7          10.5   Whether or not the Effective Date occurs or the Settlement Agreement is

 8 terminated, neither this Agreement nor the settlement contained herein, nor any act performed or

 9 document executed pursuant to or in furtherance of this Agreement or the settlement:

10                 (a)     is, may be deemed, or shall be used, offered or received against the Released

11 Parties, or each or any of them, as an admission, concession or evidence of, the validity of any

12 Released Claims, the truth of any fact alleged by the Plaintiffs, the deficiency of any defense that

13 has been or could have been asserted in the Action, the violation of any law or statute, the

14 reasonableness of the settlement amount or the Fee Award, or of any alleged wrongdoing, liability,

15 negligence, or fault of the Released Parties, or any of them;

16                 (b)     is, may be deemed, or shall be used, offered or received against Defendant,

17 as an admission, concession or evidence of any fault, misrepresentation or omission with respect

18 to any statement or written document approved or made by the Released Parties, or any of them;
19                 (c)     is, may be deemed, or shall be used, offered or received against the Released

20 Parties, or each or any of them, as an admission or concession with respect to any liability,

21 negligence, fault or wrongdoing as against any Released Parties, in any civil, criminal or

22 administrative proceeding in any court, administrative agency or other tribunal. However, the

23 settlement, this Agreement, and any acts performed and/or documents executed in furtherance of

24 or pursuant to this Agreement and/or Settlement may be used in any proceedings as may be

25 necessary to effectuate the provisions of this Agreement. Further, if this Settlement Agreement is

26 approved by the Court, any Party or any of the Released Parties may file this Agreement and/or

27 the Final Judgment in any action that may be brought against such Party or Parties in order to

28 support a defense or counterclaim based on principles of res judicata, collateral estoppel, release,


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                      - 26 -
 1 good faith settlement, judgment bar or reduction, or any other theory of claim preclusion or issue

 2 preclusion or similar defense or counterclaim;

 3                  (d)      is, may be deemed, or shall be construed against Plaintiffs, the Class, the

 4 Releasing Parties, or each or any of them, or against the Released Parties, or each or any of them,

 5 as an admission or concession that the consideration to be given hereunder represents an amount

 6 equal to, less than or greater than that amount that could have or would have been recovered after

 7 trial; and

 8                  (e)      is, may be deemed, or shall be construed as or received in evidence as an

 9 admission or concession against Plaintiffs, the Class, the Releasing Parties, or each and any of

10 them, or against the Released Parties, or each or any of them, that any of Plaintiffs’ claims are with

11 or without merit or that damages recoverable in the Action would have exceeded or would have

12 been less than any particular amount.

13          10.6    The headings used herein are used for the purpose of convenience only and are not

14 meant to have legal effect.

15          10.7    The waiver by one Party of any breach of this Settlement Agreement by any other

16 Party shall not be deemed as a waiver of any other prior or subsequent breaches of this Settlement

17 Agreement.

18          10.8    All of the Exhibits to this Settlement Agreement are material and integral parts

19 hereof and are fully incorporated herein by reference.

20          10.9    This Settlement Agreement and its Exhibits set forth the entire agreement and

21 understanding of the Parties with respect to the matters set forth herein, and supersede all prior

22 negotiations, agreements, arrangements and undertakings with respect to the matters set forth

23 herein. No representations, warranties or inducements have been made to any party concerning

24 this Settlement Agreement or its Exhibits other than the representations, warranties and covenants

25 contained and memorialized in such documents. This Settlement Agreement may be amended or

26 modified only by a written instrument signed by or on behalf of all Parties or their respective

27 successors-in-interest.

28


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                       - 27 -
 1          10.10 Except as otherwise provided herein, each Party shall bear its own attorneys’ fees

 2 and costs incurred in any way related to the Action.

 3          10.11 Plaintiffs represent and warrant that they have not assigned any claim or right or

 4 interest relating to any of the Released Claims against the Released Parties to any other person or

 5 party and that they are fully entitled to release the same.

 6          10.12 Each counsel or other person executing this Settlement Agreement, any of its

 7 Exhibits, or any related settlement documents on behalf of any party hereto, hereby warrants and

 8 represents that such person has the full authority to do so and has the authority to take appropriate

 9 action required or permitted to be taken pursuant to the Settlement Agreement to effectuate its

10 terms.

11          10.13 This Settlement Agreement may be executed in one or more counterparts. All

12 executed counterparts and each of them shall be deemed to be one and the same instrument.

13 Signature by digital, facsimile, or in PDF format will constitute sufficient execution of this

14 Settlement Agreement. A complete set of original executed counterparts shall be filed with the

15 Court if the Court so requests.

16          10.14 The Court shall retain jurisdiction with respect to implementation and enforcement

17 of the terms of this Settlement Agreement, and all Parties hereto submit to the jurisdiction of the

18 Court for purposes of implementing and enforcing the settlement embodied in this Settlement
19 Agreement.

20          10.15 This Settlement Agreement shall be governed by and construed in accordance with

21 the laws of the State of California without reference to the conflicts of laws provisions thereof.

22          10.16 This Settlement Agreement is deemed to have been prepared by counsel for all

23 Parties, as a result of arm’s-length negotiations among the Parties. Whereas all Parties have

24 contributed substantially and materially to the preparation of this Settlement Agreement, it shall

25 not be construed more strictly against one Party than another.

26          10.17 Where this Settlement Agreement requires notice to the Parties, such notice shall

27 be sent to the following counsel. For Plaintiffs: Rafey S. Balabanian, Edelson PC, 123 Townsend

28 Street, Suite 100, San Francisco, California 94107; Paul J. Geller, Robbins Geller Rudman and


     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                      - 28 -
 1 Dowd LLP, 120 East Palmetto Park Road, Ste. 500, Boca Raton, FL 33432; Michael P. Canty,

 2 Labaton Sucharow LLP; 140 Broadway, New York, New York 10005. For Facebook: Michael

 3 Rhodes, Cooley LLP, 101 California Street, 5th Floor, San Francisco, California 94111.

 4         10.18 Under no circumstances will Facebook have any liability for Taxes or Tax

 5 Expenses under the Settlement. Plaintiffs, Class Counsel and, Class Members, and the recipients

 6 of cy pres funds are responsible for any taxes on their respective recoveries or awards. Nothing in

 7 this Agreement, or statements made during the negotiation of its terms, shall constitute tax advice

 8 by Facebook or Facebook’s counsel.

 9         10.19 All time periods and dates described in this Agreement are subject to the Court’s

10 approval. These time periods and dates may be changed by the Court or by the Parties’ written

11 agreement without notice to the Class. The Parties reserve the right, subject to the Court’s

12 approval, to make any reasonable extensions of time that might be necessary to carry out any

13 provision of this Agreement.

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                        [SIGNATURES APPEAR ON FOLLOWING PAGE]
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     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                                    - 29 -
DocuSign Envelope ID: 79132784-D6A7-4A8A-8F25-3912907B83EC




                                       22
                 1    DATED: July ___, 2020                   CARLO LICATA
                 2

                 3
                                                                                 Carlo Licata
                 4                                            Plaintiff
                      DATED: July ___, 2020
                 5                                            NIMESH PATEL

                 6

                 7                                                               Nimesh Patel
                                                              Plaintiff
                 8
                      DATED: July ___, 2020
                 9                                            ADAM PEZEN

                10

                11                                                               Adam Pezen
                                                              Plaintiff
                12

                13    DATED: July ___, 2020                   ROBBINS GELLER RUDMAN & DOWD LLP
                                                              Shawn A. Williams
                14                                            John H. George
                                                              Patrick J. Coughlin
                15                                            Ellen Gusikoff Stewart
                                                              Lucas F. Olts
                16                                            Randi D. Bandman
                                                              Paul J. Geller (pro hac vice)
                17                                            Stuart A. Davidson (pro hac vice)
                                                              Christopher C. Gold (pro hac vice)
                18
                19
                                                                                Paul J. Geller
                20
                                                              Counsel for Plaintiffs and the Class
                21
                                                              Post Montgomery Center
                22                                            One Montgomery Street, Suite 1800
                                                              San Francisco, CA 94104
                23                                            Telephone: 415/288-4545
                                                              415/288-4534 (fax)
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                     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                       - 30 -
 1   DATED: July ___, 2020                    CARLO LICATA
 2

 3
                                                                 Carlo Licata
 4                                            Plaintiff
     DATED: July ___, 2020
 5                                            NIMESH PATEL

 6

 7                                                               Nimesh Patel
                                              Plaintiff
 8
     DATED: July ___, 2020
 9                                            ADAM PEZEN

10

11                                                               Adam Pezen
                                              Plaintiff
12

13   DATED: July ___, 2020                    ROBBINS GELLER RUDMAN & DOWD LLP
                                              Shawn A. Williams
14                                            John H. George
                                              Patrick J. Coughlin
15                                            Ellen Gusikoff Stewart
                                              Lucas F. Olts
16                                            Randi D. Bandman
                                              Paul J. Geller (pro hac vice)
17                                            Stuart A. Davidson (pro hac vice)
                                              Christopher C. Gold (pro hac vice)
18
19
                                                                Paul J. Geller
20
                                              Counsel for Plaintiffs and the Class
21
                                              Post Montgomery Center
22                                            One Montgomery Street, Suite 1800
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23                                            Telephone: 415/288-4545
                                              415/288-4534 (fax)
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     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                       - 30 -
 1   DATED: July ___, 2020                    LABATON SUCHAROW LLP
                                              Michael P. Canty (pro hac vice)
 2                                            Corban S. Rhodes (pro hac vice)
 3

 4
                                                              Michael P. Canty
 5                                            Counsel for Plaintiffs and the Class

 6                                            140 Broadway
                                              New York, NY 10005
 7                                            Telephone: 212/907-0700
                                              212/818-0477 (fax)
 8

 9   DATED: July ___, 2020                    EDELSON PC
                                              Jay Edelson (pro hac vice)
10                                            Benjamin Richman (pro hac vice)
                                              Alexander G. Tievsky (pro hac vice)
11                                            Rafey Balabanian
                                              Lily Hough
12

13
                                                                 Jay Edelson
14
                                              Counsel for Plaintiffs and the Class
15
                                              350 North LaSalle Street, 14th Floor
16                                            Chicago, IL 60654
                                              Telephone: 312/589-6370
17                                            312/589-6378 (fax)
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                                              123 Townsend Street
19                                            San Francisco, CA 94107
                                              Telephone: 415/212-9300
20                                            415/373-9435 (fax)
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     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                       - 31 -
 1   DATED: July ___, 2020                    LABATON SUCHAROW LLP
                                              Michael P. Canty (pro hac vice)
 2                                            Corban S. Rhodes (pro hac vice)
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                                                              Michael P. Canty
 5                                            Counsel for Plaintiffs and the Class

 6                                            140 Broadway
                                              New York, NY 10005
 7                                            Telephone: 212/907-0700
                                              212/818-0477 (fax)
 8

 9                22 2020
     DATED: July ___,                         EDELSON PC
                                              Jay Edelson (pro hac vice)
10                                            Benjamin Richman (pro hac vice)
                                              Alexander G. Tievsky (pro hac vice)
11                                            Rafey Balabanian
                                              Lily Hough
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                                                                 Jay Edelson
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                                              Counsel for Plaintiffs and the Class
15
                                              350 North LaSalle Street, 14th Floor
16                                            Chicago, IL 60654
                                              Telephone: 312/589-6370
17                                            312/589-6378 (fax)
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                                              123 Townsend Street
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                                              Telephone: 415/212-9300
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     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                       - 31 -
 1                 22 2020
      DATED: July ___,                        Facebook, Inc.
 2

 3
                                                                 Paul Grewal
 4
                                                 Vice President & Deputy General Counsel
 5

 6

 7    APPROVED AS TO FORM

 8
      DATED: July ___, 2020                   COOLEY LLP
 9                                            Michael G. Rhodes (116127)
                                              Whitty Somvichian (194463)
10

11
                                                            Michael G. Rhodes
12
                                              Counsel for Defendant Facebook, Inc.
13
                                              101 California Street, 5th Floor
14                                            San Francisco, CA 94111-5800
                                              Telephone: 415/693-2000
15                                            415/693-2222 (fax)

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     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                             - 32 -
 1    DATED: July ___, 2020                   Facebook, Inc.
 2

 3
                                                                 Paul Grewal
 4
                                                 Vice President & Deputy General Counsel
 5

 6

 7    APPROVED AS TO FORM

 8
                   22 2020
      DATED: July ___,                        COOLEY LLP
 9                                            Michael G. Rhodes (116127)
                                              Whitty Somvichian (194463)
10

11
                                                            Michael G. Rhodes
12
                                              Counsel for Defendant Facebook, Inc.
13
                                              101 California Street, 5th Floor
14                                            San Francisco, CA 94111-5800
                                              Telephone: 415/693-2000
15                                            415/693-2222 (fax)

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     STIPULATION OF CLASS ACTION SETTLEMENT - 3:15-cv-03747-JD                             - 32 -
Exhibit A
Once individuals access the website, the first step is to provide the email address or phone number
associated with their Facebook account. If an individual comes to the website by clicking a link in the
email notice, the email or cell phone number associated with their account will be prepopulated. (See
screenshot below)




Next, the individuals are required to provide their name and address. (See screenshot below)




Afterwards, the individual are required to choose a payment type to receive the settlement funds.
Depending on their selection, the individuals are required to provide additional information regarding
their selected payment type. There are 4 different payment options:

        1. Check: No additional information is required. The check will be payable to the individual’s
           full name and it will be mailed to the address provided in the previous steps. (See the
           following screenshot)
2. Zelle: The individual is required to provide their email address associated with their Zelle
   account. (See the following screenshot)




3. Paypal: The individual is required to provide their email address associated with their Paypal
   account. (See the following screenshot)
       4. Direct Deposit: The individual is required to provide routing number, account number, bank
          name and account type. (See the following screenshot)




Based on the email associated with their Facebook account, there are 3 possible scenarios:

       1. The email is found in Facebook’s records and Facebook has a record of a face template:

           If the email is on the Class List and the existence of a face template has been confirmed,
           individuals are required to fill out an affirmation confirming their residence in the state of
           Illinois during the approved time period. (See the following screenshot)




           Afterwards, a submission confirmation is displayed accompanied by the individual’s claim
           number. (See the following screenshot)
2. The email is on the Class List, but Facebook has no records that a face template was created.

    In this case, individuals are required to fill out an affirmation confirming their residence in
    the state of Illinois during the approved time period and that they uploaded an image of
    their face during that time.




    Once they check the 3 boxes and click on “Agree and Submit”, a submission confirmation is
    displayed accompanied by the individual’s claim number. (See the following screenshot)
3. The email address provided is not found in Facebook’s records.

   In this case, the individual is required to provide the approximate dates and address where
   they lived in Illinois during the approved time period. (See the following screenshot)




   Once the individual provides all the required information and checks the remaining boxes,
   they click on “Agree and Submit” to finalize the submission. Finally, a submission
   confirmation is displayed accompanied by the individual’s claim number. (See the following
   screenshot)
Exhibit B
EXHIBIT B

 Screen 1
Screen 2 – Reached Only By Class Members That Click “Continue”
Exhibit C
                     Official Notice from the United States District Court
                             for the Northern District of California                                    EspaAol




         Facebook users in Illinois may be entitled
       to payment if their face appeared in a picture
             on Facebook after lune 7, 2011
       Don't wotry, you are not being sued. This is an off!clalcoutt 1lotice, not an ad for a lawyer.

   Facebook, Inc. has settled a class action that claimed Facebook violated Illinois law
 by collecting and storing biometric data of Facebook users in Illinois without the proper
notice and consent, as part of its "Tag Suggestions• feature and other features involving
facial recognition technology. Facebook denies it violated any law. You can fill out a short
        claim form and potentially get an estimated $200 - $400 by clicking below.



                                            Claim now



                                Am I A Class Member?

         The Court decided that all peopl e who flt this definition are included In the
  Cl ass: "Facebook users located in Illinois for whom Facebook created and stored a face
template after June 7, 2011. " Facebook's records show that you are likely a class member.

To file a valid claim under the Sett l ement, you must have lived in the State of Illinois for a
 period of at least 183 days (6 months). Ti me spent traveling or taking a vacation outside
       of Illinois can be included In this time period and does not make you ineligible.

           For more information, please www.facebookbipaclassaction.c om



                                      What can I get?

 If you believe you are a class member you can fill out a short claim form and potentially
 receive approximately $200 to $400 from a $650 million Settlement Fund. The amount
you receive may be less than or greater than this amount depending on the number of
  valid claims filed. This fund will also be used to pay the costs of notifying people about
     the sett l ement, the lawyers' fees, award pay ments to the users who helped brin g
                                the lawsuit, and certain taxes.

  The Settlement also requires Facebook to tum "off" the Faci al Recognition setting and
      delete face templ ates for most Cl ass Members unless they turn it back "on."



                              How do I get my money?

     You have to fill out a short claim form by [deadline]. You can fill one out now by
clicking here. Or, you may submit one online at www.facebookbipaclassaction.com.
    Submitting a claim online is easy , secure, and compl etely free. You can also get a
                     claim form by calling toll free, 1 -800-000-0000.


                           What are my other options?

   If you are part of the Class but do not want money from the Settlement and want to
     keep your ri ght to file your own lawsuit against Facebook for any of the issues or
        claims In the case, you must exclude yourself from the Class no later than
                              [objection/exclusion deadline].

  If you stay In the Class, you may object to any aspect of the Sett l ement, Including the
 requests for attorneys' fees, costs, expenses, and awards to the Cl ass Representatives.
    You and/or your lawyer also have the right to appear before the Court. Your written
 objection must be filed no later than [objection/excl usion deadline]. Specific Instructions
           about how to object or exclude yourself from the Class are available at
                          www .facebookbipaclassaction.com.

  If you do nothing, and the Court approves the Sett l ement, you will receive no money,
   but will be bound by all orders of the Court and Judgments in this case. I n addition,
            y ou will no longer be able to file your own lawsuit against Facebook
                          for any of the issues or claims in the case.



                                   Do I have a lawyer?
  The Court has appointed lawy ers from the firms Edelson PC ("Edelson"), Robbins Geller
Rudman & Dowd LLP ("Robbins Geller"), and Labaton Sucharow LLP ("Labaton Sucharow")
to represent the Class as "Class Counsel." You do not have to pay Class Counsel or anyone
 else to participate. Class Counsel intend to request that the Court award them attorneys'
     fees from the original settlement fund not to exceed 20%, plus litigation costs and
expenses. If you want to be represented by y our own lawyer In this case, you may hire one
 at your expense. Adam Pezen, Nimesh Patel, and carlo Licata are Class Members like you
and the Court appointed them as the "Class Representatives." They will request awards not
                to exceed $7,500 each for their service on behalf of the Class.

                           When will the court consider
                            the proposed settlement?
              The Court has scheduled a hearing on the fairness of Settlement
   at [time] on [month] day, 2020 at the Philip Burton Federal Building and Courthouse,
 450 Golden Gate Avenue, Courtroom 11, 19th fl oor, San Francisco, CA 94102. The Court
  will consider whether to approve the Settlement; any objections; and the requests for
  awards to the Class Representatives, and attorneys' fees, costs and expenses to Class
  Counsel. The bri efs and declarations In support of these requests will be posted on the
     website on [date]. You may ask to appear at the hearing but you do not have to.
    The date, time and location of the hearing may change. Please review the website
                  for any updated information regarding the final hearing.



                        How do I get more information?

      This notice is only a summary. For more information about the case and the
  Settlement, visit www.facebookbipaclas.sactio n.com or contact the administrator at
    1-866-637-9458, wri te to In re Facebook Biometric Information Privacy Lit igation,
  Settlement Administrator, c/o [address], or call Cl ass Counsel Edelson (866) 354-3015,
         Robbins Geller (800) 449-4900, and Laba ton Sucharow (888) 219-6877.




           PLEASE DO NOT CALL OR WRITE THE COURT OR FACEBOOK
  FOR INFORMATION OR ADVICE ABOUT THIS SETTLEMENT OR THE CLAIM PROCESS
Exhibit D
Exhibit E
Exhibit F
                                       Court Ordered Legal Notice

     FACEBOOK USERS IN ILLINOIS MAY BE ENTITLED TO A PAYMENT IF
   THEIR FACE APPEARED IN A PICTURE ON FACEBOOK AFTER JUNE 7, 2011
Facebook, Inc. has settled a class action that claimed Facebook violated Illinois law by collecting and
storing biometric data of Facebook users in Illinois without the proper notice and consent, as part of its
“Tag Suggestions” feature and other features involving facial recognition technology. Facebook denies it
violated any law. For more information, please www.facebookbipaclassaction.com.
                                    AM I A CLASS MEMBER?
The Court decided that all people who fit this definition are included in the Class: “Facebook users
located in Illinois for whom Facebook created and stored a face template after June 7, 2011.” To file
a valid claim under the Settlement, you must have lived in the State of Illinois for a period of at least
183 days (6 months).
                     WHAT CAN PEOPLE GET FROM THE SETTLEMENT?
If you believe you are a class member you can fill out a short claim form and potentially receive
approximately $200 to $400 from a $650 million Settlement Fund. The amount you receive may be less
than or greater than this amount depending on the number of valid claims filed. This fund will also
be used to pay the costs of notifying people about the settlement, the lawyers’ fees, award payments to the
users who helped bring the lawsuit, and certain taxes. The Settlement also requires Facebook to turn “off”
the Facial Recognition setting and delete face templates for most Class Members unless they turn it back
“on.”
                               WHAT ARE MY RIGHTS & OPTIONS?
File a claim. The only way to get money is to fill out a short claim form. If the Court approves the
Settlement, you will be bound by all orders and judgments in the case. Do Nothing. You will get no money,
but will be bound by all orders and judgments in the case. Exclude Yourself. If you do not want money
from the Settlement and want to keep your right to file your own lawsuit against Facebook for any of the
issues or claims in the case, you must exclude yourself from the Class. Object. You can also object to the
Settlement and Class Counsel’s request for attorneys’ fees and expenses if you disagree with them. All
claims, requests for exclusion, and objections must be received by [Claim/Exclusion/Objection Deadline].
The Court has appointed lawyers from the firm Edelson PC, Robbins Geller Rudman & Dowd LLP, and
Labaton Sucharow LLP to represent you as “Class Counsel.” The lawyers will request to be paid from the
Settlement Fund. You can hire your own lawyer, but you’ll need to pay your own legal fees.

The Court will hold a final hearing on the Settlement of this case at [time] on [month] day, 2020 at the
Philip Burton Federal Courthouse, 450 Golden Gate Ave, Courtroom 11, 19th floor, San Francisco, CA
94102. You can go to this hearing, but you do not have to. The Court will hear any objections, determine if
the Settlement is fair, and consider Class Counsels’ request for attorneys’ fees of up to 20% of the original
settlement fund plus expenses, and an incentive award to the Class Representatives. Any money not
awarded will stay in the Settlement Fund to pay Class Members who file valid claims. Class Counsels’
request for fees, expenses, and an incentive award will be posted on the settlement website after they are
filed.

                          HOW DO I GET MORE INFORMATION?
This notice is only a summary. For information, including the Settlement other legal documents, visit
www.facebookbipaclassaction.com or contact the administrator at 1-866-###-####. Please do not contact
the Court or Facebook.
Exhibit G
Official Notice from the United States District Court for the Northern District of California


Facebook users in Illinois may be entitled to payment
if their face appeared in a picture on Facebook after
June 7, 2011
Don’t worry, you are not being sued. This is an official court notice, not an ad for a lawyer.


Facebook, Inc. has settled a class action that claimed Facebook collected and stored
the biometric data of Facebook users in Illinois without the proper notice and consent
in violation of Illinois law as part of its “Tag Suggestions” feature and other features
involving facial recognition technology.

You are included in the Settlement if you are or were a Facebook user located in Illinois
and Facebook created and stored a face template for you after June 7, 2011.

Included users can fill out a short claim form and receive approximately $200 to $400
per person from a $650 million Settlement Fund. This fund will also be used to pay the
costs of notifying people about the Settlement, the lawyers’ fees, awards to the users
who helped bring the lawsuit, and certain taxes.

The Settlement also requires Facebook to turn “off” its Facial Recognition setting and
delete face templates for most users unless they turn it back “on.”

If you are included, your legal rights are affected whether you act or do not act.
Read this Notice carefully.

The Court in charge of this case hasn’t decided if the Settlement is fair yet. Payments
will be made only if the Court decides the Settlement is fair and approves the
Settlement.
Your Legal Rights and Options in this Lawsuit

1. Fill Out a Claim Form

The only way to get a payment. You must submit a valid Claim Form either online or by
mail by ____________, 2020.


2. Object

Write to the Court about why you do not like something about the Settlement by
__________________, 2020.


3. Ask to be excluded from the Class

If you don’t want to be a part of the Settlement, you must send a written request to be
excluded. You won’t get any money or other benefits, but you will keep any rights to sue
Facebook yourself for the same legal issues in this lawsuit.


4. Go to a hearing on _____________, 2020

You can ask to speak to the Court about your opinion of the Settlement, including the
amount of lawyers’ fees. Written requests to speak must be received by the Court by
_____________, 2020.


5. Do nothing

You won’t get any money and you will lose any rights to sue Facebook yourself for the
same legal issues in this lawsuit.
Basic Information

6. Why should I read this Notice?

This notice explains the lawsuit, the Settlement, your rights, what payments are
available, and how to get them.

The Hon. James Donato of the United States District Court for the Northern District
of California is in charge of this class action. The lawsuit is known as In re Facebook
Biometric Information Privacy Litigation, Case No. 3:15-CV-03747-JD.


7. What is this lawsuit about?

Facebook users in Illinois sued Facebook claiming that its “Tag Suggestions” feature
and other features involving facial recognition technology violated the Illinois Biometric
Information Privacy Act (“BIPA”. That law says companies can’t collect, store, or
give out “biometric data,” which includes things like face or fingerprint scans, without
first giving notice and getting consent. This case alleges that Facebook used facial
recognition technology to create face templates—unique template that can be used to
identify users in photos—that these templates are covered by BIPA, and that Facebook
did this without the proper notice and consent. Facebook denies all allegations of
wrongdoing and liability.


8. What is a class action and who is involved?

In a class action lawsuit, one or more people called “Class Representatives” sue on
behalf of other people who have similar claims. These people together are a “Class” or
“Class Members.” One court resolves the issues in the case for everyone in the Class
– except for those people who choose to exclude themselves from the Class. In this
case, the Court appointed Nimesh Patel, Adam Pezen, and Carlo Licata as the Class
Representatives. These individuals are each from Illinois and claim that they had face
templates created and stored by Facebook.


9. Why is there a Settlement?

Facebook and the Class Representatives spent more than five years in Court fighting this
case. Shortly before trial, both sides agreed to a settlement. The Settlement gives Class
Members guaranteed payments now whereas in a trial, Class Members might get nothing
or might only get payments years from now. Because there is a settlement, the Court
has not decided who should win the case.
Who Is Included in the Settlement

To see if you can get a payment, you first need to determine whether you are
included in this lawsuit.


10. Am I Included as part of the Class?

The Court decided that all people who fit this definition are included in the Class:
“Facebook users located in Illinois for whom Facebook created and stored a face
template after June 7, 2011.”

To receive money under the Settlement, you must have lived in the State of Illinois for a
period of at least 183 days (6 months after June 7, 2011. Time spent traveling or taking
a vacation outside Illinois can be included in this time period and does not make you
ineligible.

Facebook’s records were used to identify certain Class Members who should have
received notice through email or on Facebook. If you didn’t get a notice and think you’re
included, you might be part of the Class if you are a current or former Facebook user
in Illinois who uploaded a photograph of yourself or were “tagged” in photograph on
Facebook after June 7, 2011. Not everybody in Illinois who uses Facebook is included.
If photographs of you that were uploaded to Facebook (by yourself or others after
June 7, 2011 did not result in the creation of a face template while you lived in
Illinois, you are not part of the Class. For more information, please visit
www.facebookbipaclassaction.com


11. Are there exceptions to being included?

Some users are excluded because they work for Facebook or are related to the judges or
lawyers in the case. The Settlement Agreement has a list of the categories of people who
are excluded. Of course, users who request to be excluded (this process is explained
below) aren’t included either.


12. I’m still unsure if I am included.

If you are still not sure whether you are included, you can get free help at www.
[website].com, by calling the Settlement Administrator at [1-800-###-####] or by
calling the lawyers appointed to represent Class Members in this case, Edelson PC
(“Edelson” of Chicago, Illinois (866) 354-3015, Robbins Geller Rudman & Dowd LLP
(“Robbins Geller” of San Francisco, California (800) 449-4900, and Labaton Sucharow
LLP (“Labaton Sucharow” of New York, New York (888) 219-6877. Please do not contact
the Court or Facebook.
The Settlement Benefits

13. What does the Settlement provide?

Facebook will pay $650 million to settle this case. That money will go into a “Settlement
Fund” to pay for everything related to the Settlement. Most of the money will go to Class
Members who submit valid claim forms (more about that in the question below. The
rest will be used to pay the costs of notifying people about the Settlement, the lawyers’
fees, awards to the Class Representatives who helped bring the lawsuit, and certain
taxes.

Facebook will also turn “off” its Face Recognition feature for most Class Members. If
those Class Members don’t turn Face Recognition back on, Facebook will delete all
existing face templates for those users.

Some Class Members who already turned Face Recognition back “on” for themselves,
including Class Members who recently signed up for Facebook, won’t have their Face
Recognition setting turned off.

Finally, Facebook will delete any face templates of any Class Members who have had no
activity on Facebook for a period of three years.


14. How much will my payment be?

Payments will likely be approximately $200 to $400 per person. We can’t give you
an exact number right now because the payment amounts depend on how many
Class Members file valid claims and the amount of fees, costs, expenses, and awards
deducted from the Settlement Fund. The Settlement Website will periodically be
updated to provide the estimated payment amount based on the number of
participating Class Members.


15. How can I get a payment?

To get a payment you have to complete and submit a valid Claim Form
no later than [Claims Deadline]. Please file your claim electronically on
www.facebookbipaclassaction.com. Not only is submitting online easier and
more secure, but it is completely free and takes only minutes. You can get payment
by a check or electronically through Zelle, PayPal, and direct deposit.


If you want to get a paper copy of the Claim Form, you can go to
www.facebookbipaclassaction.com or call toll free, 1-800-000-0000.
16. When will I get my payment?

We can’t give you a date yet. Payments will be made about two months after the Court
approves the Settlement. The court will consider final approval of the Settlement on
[Final Approval Hearing Date.] Even if the Court approves the Settlement there may be
appeals. It is always uncertain whether and when appeals can be resolved, and resolving
them can take more than a year.

All checks will expire and become void 90 days after they are issued. If there is any
money left because of uncashed checks or returned electronic payments, you may
get a second payment if you filed a valid claim. If there is money left after the second
payments, that money may be donated to the American Civil Liberties Union of Illinois to
be used for their efforts protecting biometric privacy rights.

The Settlement Website will be updated to inform Class Members of the progress of the
Settlement. Please be patient.



What happens if you remain in the Settlement

17. What am I giving up if I stay in the Class?

Unless you exclude yourself, you are staying in the Class. That means that if the Court
approves the Settlement, you are giving up the right to file your own lawsuit against, or
seek further money from, Facebook for any of the issues or claims in the case--whether
or not you are currently aware of those claims.

The specific scope of the claims you are releasing is in paragraph 1.25 of the Settlement
Agreement, which is available through the “Court Documents” link on the Settlement
Website. If you have any questions, you can talk to the lawyers listed in Question 19 for
free, or you can, of course, talk to your own lawyer if you have questions about what the
release means.


18. What happens if I do nothing at all?

If you are a Class Member and do nothing (meaning you don’t submit a Claim Form
and don’t exclude yourself, you will not get anything from this Settlement and you will
release your claims as explained above).
The Lawyers Representing you

19. Do I have a lawyer in this case?

The Court has appointed the law firms of Edelson (866) 354-3015, Robbins Geller
(800) 449-4900, and Labaton Sucharow (888) 219-6877 to represent you and all Class
Members. These firms are called “Class Counsel.” The law firms are experienced in
handling similar class action cases. More information about Edelson, Robbins Geller,
and Labaton Sucharow, their practices, and their lawyers’ experience is available at
www.edelson.com, www.rgrdlaw.com, and www.labaton.com.

They believe, after fighting with Facebook in Court for several years, that the Settlement
Agreement is fair, reasonable, and in the best interests of the Class. You will not be
separately charged for these lawyers. If you want to be represented by your own lawyer
in this case, you may hire one at your expense.



20. How will the lawyers be paid?

The Court will determine how much Class Counsel will be paid for attorneys’ fees, costs,
and expenses in this case. The amounts will be paid from the $650 million Settlement
Fund. Class Counsel will apply for an attorney’s fee award of no more than twenty
percent of the original $550 million settlement fund, plus costs and expenses. Labaton
Sucharow will use money from its share of what is awarded to pay the Offices of Norman
Rifkind.

Class counsel will also ask the Court to approve awards of up to $7,500 each to
compensate the Class Representatives for their services on behalf of the Class.

Class Counsel’s application for an award of attorney’s fees, costs, and expenses and the
class representative awards will be made available on the “court documents” page at
www.facebookbipaclassaction.com on [date].



Excluding Yourself from the Class

21. How do I get out of the Settlement?

To exclude yourself from the Class, and no longer be part of the Settlement, you must
mail, email, or deliver a letter stating that you want to be excluded from the Class in In
re Facebook Biometric Information Privacy Litigation, Case No. 3:15-cv-03747-JD. Your
request for exclusion must include your name, address, email address, and your
signature. If your email address is different than the email address associated with your
Facebook account, please also include an email address associated with your account or
a mobile phone number associated with your account. You must mail or email your
exclusion request no later than [objection/exclusion deadline], to:

In re Facebook Biometric Privacy Settlement Administrator
[email & U.S. Mail Address]
22. If I do not exclude myself, can I sue Facebook for the same thing later?

No. Unless you exclude yourself, you give up any right to sue Facebook for the claims
being resolved by this Settlement. If you have a pending case against Facebook, please
speak with your attorney immediately.


23. If I exclude myself, can I still get anything from the Settlement?

No. If you exclude yourself, you should not submit a Claim Form to ask for a payment
because you will no longer be eligible for any.



Objecting to or Commenting on the Settlement

24. How do I object or comment on the Settlement or the request for attorneys’
    fees, costs, expenses, and incentive awards?

You can comment on, or object to, the Settlement, Class Counsel’s request for
attorney’s fees, costs and expenses, and/or the request for service awards for the
Class Representatives.

You can ask the Court to deny approval of the Settlement. You cannot ask the Court to
order a different settlement; the Court can only approve or reject the Settlement. If the
Court denies approval, no payments will be made now, and the litigation will continue.
If that is what you want to happen, you must object.

Any objection to the proposed Settlement must be in writing. If you file a written
objection before the deadline, you may, but don’t have to, appear at the Final Approval
Hearing. If you want to appear, you can do so yourself or through your own attorney.
If you appear through your own attorney, you are responsible for hiring and paying that
attorney.
All written objections must contain the following:

• The name and case number of this lawsuit (In re Facebook Biometric Information
  Privacy Litigation, Master File No. 3:15-CV-03747-JD);

• Your full name, mailing address, email address, and telephone number;

• If you use a different email address or telephone number for your Facebook account
  please also provide that information;

• An explanation of why you believe you are a Class Member;

• A statement that identifies whether you are objecting only on your own behalf, on
  behalf of a subsection of the Class, or on behalf of the Class as a whole;

• All reasons for your objection or comment, including all citations to legal authority
  and evidence supporting the objection;
• Whether you intend to personally appear and/or testify at the Final Approval Hearing
  (either personally or through counsel), and what witnesses you will ask to speak;

• The name and contact information of any and all attorneys representing, advising,
  and/or assisting you, including any counsel who may be entitled to compensation for
  any reason related to your objection or comment, who must an appearance with the
  Court in accordance with the Local Rules; and

• Your handwritten or electronically imaged signature. An attorney’s signature,
  or typed signature, is not sufficient.

To be considered by the Court, your comment or objection must be received by the
Court either by mailing it to the Class Action Clerk, United States District Court for the
Northern District of California, Phillip Burton Federal Building & U.S. Courthouse, 450
Golden Gate Avenue, San Francisco, CA 94102, or by filing it in person at any location of
the United States District Court for the Northern District of California. To be considered,
your comment or objection must be filed or postmarked on or before the [objection/
exclusion deadline]


25. What is the difference between objecting and excluding myself
    from the Class?

Objecting means that you disagree with some aspect of the Settlement and think the
Court should not approve the Settlement. An objection, or a comment, allows your
views to be heard in court. You can object only if you stay in the Class.

Excluding yourself from the Class means that you are no longer a Class Member and
do not want the Settlement to apply to you. If you exclude yourself, you lose any right
to receive any payments or benefits from the Settlement or to object to the Settlement
because the case no longer affects you.
The Court’s Final Approval Hearing

26. When and where will the Court decide whether to approve the Settlement?

The Court is scheduled to hold the Final Approval Hearing on ________, 2020 at __.p.
in Courtroom 11 of the United States Courthouse, 450 Golden Gate Ave.,19th Floor,
San Francisco, CA. The hearing may be rescheduled to a different date or time or
location without another notice to Class Members. Especially given the national health
emergency, the date, time and location of the hearing may be subject to change, as will
the manner in which Class Members might appear at the hearing. Please review
the Settlement Website for any updated information regarding the final hearing.

At the Final Approval Hearing, the Court will consider whether the Settlement is fair,
reasonable and adequate. If there are objections, the Court will consider them. The
Court may listen to people who appear at the hearing and who have provided notice
of their intent to appear at the hearing. The Court may also consider Class Counsel’s
application for attorney’s fees, costs and expenses and for service awards to Class
Representatives.


27. Do I have to come to the Final Approval Hearing?

No. Class Counsel will answer any questions the Court may have. You may attend at
your own expense if you wish. If you submit a written objection or comment, you do not
have to come to the Court to talk about it. As long as you submit your written objection
or comment on time, and follow the requirements above, the Court will consider it.
You may also pay your own attorney to attend, but it is not required.


28. May I speak at the Final Approval Hearing?

Yes. You may ask the Court for permission to speak at the Final Approval Hearing.
At the hearing, the Court may hear any objections and arguments concerning the
fairness of the Settlement and/or Class Counsel’s request for attorneys’ fees, costs,
expenses, and incentive awards.

To do so, you must include in your objection or comment a statement saying that it
is your “Notice of Intent to Appear in In re Facebook Biometric Information Privacy
Litigation, Case No. 3:15-cv-03747-JD. It must include your name, address, email,
telephone number and signature as well as the name and address of your lawyer, if one
is appearing for you. Your submission and notice of intent to appear must be filed with
the Court and be received no later than [objection/exclusion deadline].

You cannot speak at the hearing if you exclude yourself from the Class.
Getting More Information

29. How do I get more information?

This notice summarizes the proposed Settlement. More details are in the Stipulation of
Class Action Settlement, in the Court’s orders, and other relevant documents, which are
available online at www.facebookbipaclassaction.com.

You can also get information about this case by accessing the Court docket, for a fee,
through the Court’s Public Access to Court Electronic (PACER system at https://ecf.
cand.uscourts.gov, or by visiting the office of the Clerk of the Court for the United States
District Court for the Northern District of California, San Francisco Courthouse, between
9:00 a.m. and 4:00 p.m., Monday through Friday, excluding Court holidays.

You may also contact the Settlement Administrator at 1-866-637-9458 or write to
In re Facebook Biometric Information Privacy Litigation, Settlement Administrator,
c/o Gilardi & Co LLC, P.O. Box 404002, Louisville, KY 40233-4002, or call Class Counsel
Edelson (866 354-3015, Robbins Geller (800 449-4900, and Labaton Sucharow
(888 219-6877.

PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S OFFICE TO
INQUIRE ABOUT THIS SETTLEMENT OR THE CLAIM PROCESS.

All questions regarding the Settlement or claims process should be directed to the
Settlement Administrator or to Class Counsel.

By order of the United States District Court for the Northern District of California
Exhibit H
